Case 2:12-md-02327 Document 4837 Filed 10/20/17 Page 1 of 3 PageID #: 155565




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                 NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                      PETER L. ROSENBLATT, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert

motion filed against Peter L. Rosenblatt for Ethicon Wave 2, Dkt. 2425 (motion), 2428

(memorandum in support). Plaintiffs respectfully request that the Court exclude Peter L.

Rosenplatt’s testimony, for the reasons expressed in the Wave 2 briefing. This notice applies to

the following Wave 6 cases identified in Exhibit A attached hereto.

Dated: October 20, 2017                                  Respectfully submitted,

                                                         /s/ Bryan F. Aylstock
                                                         Bryan F. Aylstock, Esq.
                                                         Renee Baggett, Esq.
                                                         Aylstock, Witkin, Kreis and Overholtz, PLC
                                                         17 East Main Street, Suite 200
                                                         Pensacola, Florida 32563
                                                         (850) 202-1010
                                                         (850) 916-7449 (fax)
                                                         E-mail: baylstock@awkolaw.com

                                                         /s/ Thomas P. Cartmell
                                                         THOMAS P. CARTMELL
                                                         Wagstaff & Cartmell LLP
                                                         4740 Grand Avenue, Suite 300
                                                         Kansas City, MO 64112
                                                         816-701-1102
                                                         Fax 816-531-2372
                                                         tcartmell@wcllp.com



                                                            1
Case 2:12-md-02327 Document 4837 Filed 10/20/17 Page 2 of 3 PageID #: 155566




                               EXHIBIT A

Kieffaber, Carolyn         2:12-cv-08464
Cikota, Lisa               2:12-cv-08921
Greenwood, Michelle        2:12-cv-09252
Longo, Helen D.            2:12-cv-09266
Wright, Joyce              2:13-cv-00746
Hazard, Dolores            2:13-CV-01132
Belisle, Julie             2:13-cv-02317
Richardson, LaShonda       2:13-cv-02328




                                     2
Case 2:12-md-02327 Document 4837 Filed 10/20/17 Page 3 of 3 PageID #: 155567




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ Bryan F. Aylstock_______________
                                            BRYAN F. AYLSTOCK
                                            Aylstock, Witkin, Kreis and Overholtz, PLC
                                            17 E. Main Street, Suite 200
                                            Pensacola, FL 32563
                                            850-202-1010
                                            850-916-7449
                                            Baylstock@awkolaw.com




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